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 1                                                                     VAV



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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               March 2022 Grand Jury

11   UNITED STATES OF AMERICA,                CR    2:23-cr-00001-FLA

12             Plaintiff,                     I N D I C T M E N T

13             v.                             [21 U.S.C. §§ 841(a)(1),
                                              (b)(1)(A)(viii), (b)(1)(B)(viii):
14   FLORIDA SAHAY,                           Possession with Intent to
                                              Distribute Methamphetamine;
15             Defendant.                     21 U.S.C. §§ 841(a)(1),
                                              (b)(1)(B)(viii): Distribution of
16                                            Methamphetamine; 21 U.S.C.
                                              §§ 841(a)(1), (b)(1)(B)(vi):
17                                            Possession with Intent to
                                              Distribute Fentanyl; 21 U.S.C.
18                                            § 853 and 28 U.S.C. § 2461(c):
                                              Criminal Forfeiture]
19

20        The Grand Jury charges:
21                                      COUNT ONE
22                    [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]
23        On or about October 14, 2021, in Los Angeles County, within the
24   Central District of California, defendant FLORIDA SAHAY knowingly and
25   intentionally possessed with intent to distribute at least 50 grams,
26   that is, approximately 71 grams, of methamphetamine, a Schedule II
27   controlled substance, in the kitchen of defendant SAHAY’s residence.
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 1                                      COUNT TWO

 2                   [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii)]

 3        On or about September 23, 2021, in Los Angeles County, within

 4   the Central District of California, defendant FLORIDA SAHAY knowingly

 5   and intentionally distributed at least five grams, that is,

 6   approximately 35 grams, of methamphetamine, a Schedule II controlled

 7   substance.

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 1                                     COUNT THREE

 2                   [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii)]

 3        On or about October 14, 2021, in Los Angeles County, within the

 4   Central District of California, defendant FLORIDA SAHAY knowingly and

 5   intentionally possessed with intent to distribute at least

 6   five grams, that is, approximately 17 grams, of methamphetamine, a

 7   Schedule II controlled substance, in the dining room of defendant

 8   SAHAY’s residence.

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 1                                     COUNT FOUR

 2                    [21 U.S.C. §§ 841(a)(1), (b)(1)(B)(vi)]

 3        On or about October 14, 2021, in Los Angeles County, within the

 4   Central District of California, defendant FLORIDA SAHAY knowingly and

 5   intentionally possessed with intent to distribute at least 40 grams,

 6   that is, approximately 113 grams, of a mixture and substance

 7   containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-

 8   piperidinyl] propanamide (“fentanyl”), a Schedule II narcotic drug

 9   controlled substance

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 1                               FORFEITURE ALLEGATION

 2                   [21 U.S.C. § 853 and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1) and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant’s conviction of the

 8   offenses set forth in Counts One through Four of this Indictment.

 9        2.    Defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11        (a)   All right, title and interest in any and all property,

12   real or personal, constituting or derived from, any proceeds which

13   the defendant obtained, directly or indirectly, from any such

14   offense;

15        (b) All right, title and interest in any and all property,

16   real or personal, used, or intended to be used, in any manner or

17   part, to commit, or to facilitate the commission of any such offense;

18        (c)   All right, title, and interest in any firearm or ammunition

19   involved in or used in such offense; and

20        (d)   To the extent such property is not available for

21   forfeiture, a sum of money equal to the total value of the property

22   described in subparagraph (a).

23        3.    Pursuant to Title 21, United States Code, Section 853(p),

24   as incorporated by Title 28, United States Code, Section 2461(c),

25   defendant, if so convicted, shall forfeit substitute property, up to

26   the value of the property described in the preceding paragraph if, as

27   the result of any act or omission of the defendants, the property

28   described in the preceding paragraph or any portion thereof
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 1   (a) cannot be located upon the exercise of due diligence; (b) has

 2   been transferred, sold to, or deposited with a third party; (c) has

 3   been placed beyond the jurisdiction of the court; (d) has been

 4   substantially diminished in value; or (e) has been commingled with

 5   other property that cannot be divided without difficulty.

 6                                               A TRUE BILL
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 8                                                    /S/
                                                 Foreperson
 9

10   E. MARTIN ESTRADA
     United States Attorney
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12

13   SCOTT M. GARRINGER
     Assistant United States Attorney
14   Chief, Criminal Division
15   DAVID T. RYAN
     Assistant United States Attorney
16   Chief, General Crimes Section
17   MORGAN J. COHEN
     Assistant United States Attorney
18   Major Frauds Section
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